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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


UNITED STATES OF AMERICA                       §

v.                                             §         CRIMINAL NO. 6:05cr36(4)

YUSUF ALLAH CHRISTOPHER                        §

                         REPORT AND RECOMMENDATION OF
                         UNITED STATES MAGISTRATE JUDGE

       This Report and Recommendation is submitted to the Court pursuant to 28 U.S.C. §

636(b)(3). This case has been referred by the Honorable Michael Schneider to the undersigned

Magistrate Judge for the taking of a felony guilty plea. The parties have consented to appear

before a Magistrate Judge.

       The defendant and counsel appeared before the undersigned United States Magistrate

Judge who addressed the defendant personally in open Court and informed the defendant of, and

determined that the defendant understood, the admonishments under Rule 11 of the Federal

Rules of Criminal Procedure.

       The defendant pled guilty, pursuant to a plea bargain agreement with the Government to

Count One of the Information.

       The undersigned Magistrate Judge finds the following:

1)     The defendant, with the advice of his attorney, has consented orally and in writing to

enter this guilty plea before a Magistrate Judge subject to final approval and sentencing by the

presiding District Judge;

2)     The defendant fully understands the nature of the charges and penalties;
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3)     The defendant fully understands the terms of the plea agreement;

4)     The defendant understands his constitutional and statutory rights and wishes to waive

these rights, including the right to a trial by jury and the right to appear before a United States

District Judge;

5)     The defendant’s plea is made freely and voluntarily;

6)     The defendant is competent to enter this plea of guilty;

7)     There is a factual basis for this plea; and

8)     The ends of justice will be served by acceptance of the defendant’s plea of guilty.

                                         Recommendation

       Accordingly, it is hereby RECOMMENDED that the District Judge accept the plea of

guilty and enter final judgment of guilty against the defendant.

       A party’s failure to file objections to the findings, conclusions, and recommendations contained

in this Report within ten days after service with a copy thereof shall bar that party from de novo review

by the district judge of those findings, conclusions and recommendations and, except upon grounds of

plain error, from appellate review of the unobjected-to proposed factual findings and legal conclusions

accepted and adopted by the district court. Douglass v. United Services Automobile Association, 79

F.3d 1415, 1430 (5th Cir. 1996) (en banc).

                           SIGNED this 6 day of September, 2005.




                                                         ___________________________________
                                                          HARRY W. McKEE
                                                          UNITED STATES MAGISTRATE JUDGE



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